                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:12-00013
                                                  )      JUDGE CAMPBELL
JESSICA PARKER                                    )

                                          ORDER

      Pending before the Court is Defendant Jessica Parker’s Motion for Leave to File Document

Ex Parte and Under Seal (Docket No. 368). The Motion is GRANTED.

      The sealed document (Docket No. 369) is referred to the Magistrate Judge for decision.

      It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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